
Opinion delivered June 1st, 1874, by
Sharswood J.
' In this case, the petition for the incorporation of the borough was presented upon the 26th April, 1873. On the same day, it was given by the Court in charge to the Grand Jury, who immediately returned the petition endorsed: “After due consideration of the within petition, we recommend that the same be granted.” On the same day the Court approved the recommendation, and ordered that the borough be decreed.- These proceedings cannot be sustained. By the act of April 1st, 1834, Section 3, P. Laws 163, it is expressly declared, that, after the action of the Grand Jury, upon such a petition, no further proceedings shall be had until the succeeding term of Court. It has been suggested that we should simply revise the action of the Court, leaving that of the Grand Jury to stand. But the action of the Grand Jury is fatally defective, for it is required that they “shall find that the conditions prescribed by the act have been complied with.” We think therefore, the whole proceedings should be reversed, and the petitioners must commence ' de novo.
Proceedings reversed.
